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         PLAINTIFFS’
   ADMINISTRATIVE MOTION
   TO FILE SUPPLEMENT ISO
      THEIR MOTION FOR
      ORDER REQUIRING
   GOOGLE TO SHOW CAUSE
    WHY IT SHOULD NOT BE
       SANCTIONED FOR
   DISCOVERY MISCONDUCT;
    DELCARATION OF MARK
            C. MAO

        Redacted Version of
       Document Sought to be
             Sealed
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1            Pursuant to Local Rule 7-11 and this Court’s March 21 Order (Dkt. No. 508), Plaintiffs
2     respectfully submit this administrative motion requesting leave to supplement their motion for
3     sanctions (Dkt. 430) with the material outlined in this five-page motion. The material below
4     consists of recently-discovered evidence showing Google further withheld discovery regarding the
5     identification of private browsing activity. Plaintiffs’ sanctions motion focused on Google’s
6     concealment of a “maybe_chrome_incognito” field. Plaintiffs have now learned that Google also
7     concealed the implementation of additional Google fields that Google has used to detect Chrome
8     browser Incognito traffic, since 2017, including fields named “is_chrome_incognito” and
9     “is_chrome_non_incognito.” These fields rely not only on the X-Client Data header information
10

11

12

13                                                                                                 Yet
14 Google withheld this information. Because Plaintiffs’ discovery of these additional fields further

15 illustrates the severe prejudice caused by Google’s pattern and practice of withholding key

16 information regarding identification of private browsing activity, Plaintiffs seek leave to

17 supplement their motion.

18                                     SUPPLEMENTAL FACTS
19           Since filing their motion for an order to show cause, Plaintiffs have continued to request
20 full production of schema and fields, which Google has continued to resist. ¶ 9. 1 Having learned

21 about Google’s withholding of discovery concerning Google’s “maybe_chrome_incognito” field,

22 Plaintiffs pressed Google for what other “incognito” fields Google may have been redacting from

23 the schema. ¶ 10. During the Special Master process, Plaintiffs asked Google about an internal

24 proposal to

25    1
     Except where otherwise noted, all exhibit and paragraph references in this submission are to the
26 Declaration of Mark C. Mao in Support of Plaintiffs’ Administrative Motion to File Supplement
   in Support of Their Request for an Order to Show Cause, which is filed concurrently herewith.
27
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28
                                         PLAINTIFFS’ADMINISTRATIVE MOTION TO FILE SUPPLEMENT
                                              IN SUPPORT OF REQUEST FOR ORDER TO SHOW CAUSE
                                                           Case No. 4:20-cv-03664-YGR-SVK
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1            On March 11 (following the Rule 30(b)(6) deposition), Plaintiffs raised these issues with
2     the Special Master, explaining that the deficiencies are also relevant to the pending motion for an
3     order to show cause. The Special Master indicated that he did not object to Plaintiffs raising these
4     issues directly with the Court. ¶ 19.       That day, with a supplemental and belated schema
5     production, Google produced for the first time a version of the schema for the
6     log that showed the “is_chrome_non_incognito” field. ¶ 22.
7            Notably, although this log contains an “incognito” detection field, Google did not identify
8     this log to Plaintiffs and Special Master Brush. ¶ 22. Plaintiffs requested this log after learning
9     Bert Leung analyzed the log for his Chrome Incognito detection work and, in December, the
10 Special Master ordered that it be produced over Google’s objection. ¶ 22. Even after being

11 compelled to produce this log, Google initially produced an incomplete version of the schema that

12 omitted the “is_chrome_non_incognito” field. ¶ 22.

13           On March 11, Google also produced for the first time a supplemental and belated schema
14 for Google’s                           log, another log used by Bert Leung. ¶ 23.          This schema
15 likewise      revealed    for   the   first   time       that   this   log   also   included   Google’s
16 “is_chrome_non_incognito” field. ¶ 23.

17           Plaintiffs have, since March 11, tried to confer with counsel for Google multiple times
18 regarding discrepancies concerning the schema productions. ¶ 30. Google still will not (1) explain
19 what happened, (2) commit to producing full schemas for all logs identified during the Special

20 Master process, or (3) identify all logs that contain bits regarding Chrome Incognito usage. ¶ 30.

21 Google recently capitulated on insisting that only the 100-largest fields for schema be

22 produced. ¶¶ 21-22. Google has not explained why it is now able to produce schema larger than

23 what it previously provided with a tool that purportedly limited Plaintiffs to just the 100 largest

24 fields. See id.; Dkt. 430-21. Had Google produced full schema in the first instance, as requested

25 and as ordered, Plaintiffs would have discovered these “incognito” fields months ago.

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                                           PLAINTIFFS’ADMINISTRATIVE MOTION TO FILE SUPPLEMENT
                                                IN SUPPORT OF REQUEST FOR ORDER TO SHOW CAUSE
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1                                     SUPPLEMENTAL ANALYSIS
2            The Court’s November 12 Order was clear. Dkt. 331. Google was required to identify all
3     relevant logs and sources, i.e., “the tools to identify class members using Google’s data.” Id. at 4.
4     Google’s refusal to comply has prejudiced Plaintiffs’ ability to obtain and seek preservation of
5     relevant discovery. Plaintiffs’ motion for an order to show cause was focused on Google’s
6     concealment of the “maybe_chrome_incognito” bit. Plaintiffs now seek to supplement with
7     evidence that Google has been concealing other logs with additional bits for detecting incognito—
8     including the “is_chrome_incognito” and “is_chrome_non_incognito” bits.
9            With respect to the schemas for the logs Google has identified, Google had argued to the
10 Special Master that its redaction of fields was simply an unintended consequence of its

11           tool producing schema for the “largest 100” fields. See Dkt. 430-21. According to Google,
12 it would not produce schema containing all of the fields in some of these logs because there were

13 over                  in these logs. ¶ 20. But Google had the lists of fields, and it could have readily
14 turned them over to Plaintiffs. Google’s claimed inadvertence is difficult to square with the facts.

15           First, Google only arbitrarily limited its schema productions to 100 fields for certain logs
16 – which coincidentally include logs that contain these Google-created “incognito” fields. By

17 contrast, Google produced          fields for the                 log. See Dkt. 430-1 ¶ 19.
18           Second, Google clearly had alternative methods of producing schemas with more than 100
19 fields. Google’s March 11 production of schema for the          “maybe_chrome_incognito” logs built
20 by Chris Liao, Bert Leung, and Mandy Liu show that Google did have such alternatives because

21 the schema was finally populated with the incognito bit. ¶ 24.

22           Third, imposing an arbitrary “100 largest” fields filter necessarily omitted the relevant
23 “incognito” fields. On March 8, pursuant to this Court’s order, Plaintiffs deposed Google

24 employee Mandy Liu, one of the employees who created the “maybe_chrome_incognito” field.

25 Ex. 4, Liu Tr. 15:2-8. Ms. Liu explained that the “maybe_chrome_incognito” value is expressed

26 as a Boolean bit, which means that it simply stores a “true” or “false” value. Ex. 4, Liu Tr. 19:24-

27
                                                        4
28
                                           PLAINTIFFS’ADMINISTRATIVE MOTION TO FILE SUPPLEMENT
                                                IN SUPPORT OF REQUEST FOR ORDER TO SHOW CAUSE
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1     20:8. 3 Storing this maybe_chrome_incognito value would take Google merely one bit. ¶ 28. Any
2     numerical integer, in contrast, would require 32-bits of storage. ¶ 28.               In short, Google’s
3     “maybe_chrome_incognito” bit is far smaller than any other field containing a single
4     number.     Similarly,    Dr.    Sadowski    testified        that   the   “is_chrome_incognito”      and
5     “is_chrome_non_incognito” fields are also Boolean bits and therefore far smaller than the rest of
6     the fields she identified. Ex. 3, Sadowski Tr. 91:2-8. Google’s strategy of refusing to produce
7     schema reflecting more than the “largest 100” fields thus virtually guaranteed that Google would
8     withhold information regarding these single-bits Incognito detection fields. ¶ 29.
9             Google    had    every    opportunity    to      be     forthcoming    with    respect   to   the
10 “is_chrome_non_incognito” being in the                                  and                         logs. It
11 was not. And for the two logs that Google did identify that contain these bits, Google removed the

12 “is_chrome_non_incognito” field from the logs’ schema before producing the schema. 4

13            Discovery is now closed. And yet Plaintiffs still do not have answers to multiple questions:
14 Has Google actually identified all logs containing the term “incognito” in the field names? Has

15 Google been redacting or removing fields from the production of Plaintiffs’ data in the Special

16 Master process? Has Google withheld relevant documents concerning these fields and log sources

17 in the course of its ESI production? Had this information been fully and timely disclosed, the

18 parties could have had an informed discussion about preservation to ensure that Google did not
19 delete relevant data. Plaintiffs submit this supplement so that Google may respond to these

20 questions, and this Court may consider them at the April evidentiary hearing.

21            Plaintiffs requested that Google stipulate to this administrative filing, and Google’s counsel
22 stated in response that they could “stipulate consistent with the court’s order.” Plaintiffs submit

23 that this filing is consistent with the Court’s order.

24

25    3
          Ms Liu also ex lained that
26                                          Ex. 4, Liu Tr. 41:23-42:12.
   4
     It is unclear if Google also removed the field from the Plaintiffs’ data that has been produced.
27 This question may be a proper subject of inquiry at the hearing.

28                                                  5
                                            PLAINTIFFS’ADMINISTRATIVE MOTION TO FILE SUPPLEMENT
                                                 IN SUPPORT OF REQUEST FOR ORDER TO SHOW CAUSE
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     DECLARATION OF MARK
      C. MAO ISO PLAINTIFFS’
     ADMINISTRATIVE MOTION
     TO FILE SUPPLEMENT IN
        SUPPORT OF THEIR
       REQUEST FOR ORDER
      REQUIRING GOOGLE TO
           SHOW CAUSE

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18    Attorneys for Plaintiffs                         mram@forthepeople.com
19
                                   UNITED STATES DISTRICT COURT
20                               NORTHERN DISTRICT OF CALIFORNIA

21    CHASOM BROWN, WILLIAM BYATT,                    Case No.: 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22
      CASTILLO, and MONIQUE TRUJILLO                  DECLARATION OF MARK C. MAO IN
23    individually and on behalf of all similarly     SUPPORT OF PLAINTIFFS’
      situated,                                       ADMINISTRATIVE MOTION TO FILE
24                                                    SUPPLEMENT IN SUPPORT OF THEIR
                     Plaintiffs,                      REQUEST FOR ORDER REQUIRING
25                                                    GOOGLE TO SHOW CAUSE
       vs.
26
                                                      The Honorable Susan van Keulen
27     GOOGLE LLC,                                    Courtroom 6 - 4th Floor
                                                      Date: April 21, 2022
28                   Defendant.                       Time: 10:00 a.m.
                                                           DECLARATION OF MARK C. MAO IN SUPPORT OF
                                               PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE SUPPLEMENT
                                                                     Case No. 4:20-cv-03664-YGR-SVK
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1                                 DECLARATION OF MARK C. MAO
2            I, Mark C. Mao, declare as follows.
3            1.      I am a partner with the law firm of Boies Schiller Flexner LLP, counsel for Plaintiffs
4     in this matter. I am an attorney at law duly licensed to practice before all courts of the State of
5     California. I have personal knowledge of the matters set forth herein and am competent to testify.
6            2.      I submit this Declaration in support of Plaintiffs’ Administrative Motion to File
7     Supplement in Support of Their Motion for Order Requiring Google to Show Cause Why It Should
8     Not Be Sanctioned for Discovery Misconduct. (Dkt. 430).
9            3.      On February 26, 2022, Plaintiffs filed their Motion for an Order to Show Cause
10 Why Google Should Not Be Sanctioned (Dkt. 430, the “Sanctions Motion”).

11           4.      Since filing the Sanctions Motion, Plaintiffs have uncovered additional evidence of
12 Google withholding relevant discovery regarding Google’s identification of private browsing

13 activity.

14           5.      While Plaintiffs’ Sanctions Motion focused on Google’s concealment of a
15 “maybe_chrome_incognito” field that Google developed between 2020 and 2022, Plaintiffs have

16 since discovered that Google also concealed Google’s implementation of additional fields that

17 Google has used to detect Chrome Incognito traffic since 2017, including (without limitation)

18 “is_chrome_incognito” and “is_chrome_non_incognito.”
19           6.      On October 5, 2021, Google produced a single-page design document relating to
20 the potential use of                                                                               The
21 document suggested potentially logging

22

23

24                                                                                       GOOG-BRWN-
25 00536949. A true and correct copy of this document is attached hereto as Exhibit 1.

26           7.      Notably absent from this single-page design document is any reference to the actual
27 Google field name that would be implemented. Google was on notice of Plaintiffs’ interest in the

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1                                                                            mode because Plaintiffs had,
2     in December, noticed the subject as a topic for the Google 30(b)(6) depositions.
3            8.      Pursuant to the Court’s November 12, 2021 Order on discovery (Dkt. 331), Google
4     was required to identify all relevant log sources that could contain Plaintiffs’ data and information.
5     Google then provided a declaration from Andre Golueke (a Discovery Manager in Google’s Legal
6     Department) confirming that Google had identified all relevant data sources, listed in Exhibit A to
7     that declaration (Dkt. 338).
8            9.      Following the filing of the Sanctions Motions, Plaintiffs continued meeting and
9     conferring with Google, both with and without the supervision of the Special Master. During those
10 meet and confer discussions, Plaintiffs reiterated their request for full productions of schema and

11 fields used by Google, but Google refused.

12           10.     After Plaintiffs learned about Google’s withholding of discovery concerning
13 Google’s “maybe_chrome_incognito” field, Plaintiffs pressed for what other “incognito” fields

14 Google may have been redacting from the schema.

15           11.     When pressed about the proposal outlined in GOOG-BRWN-00536949 during the
16 Special Master process, Google still would not answer, insisting that it wanted to save the topic

17 for the 30(b)(6) deposition of Dr. Caitlin Sadowski, which was not until March 10.

18           12.     On March 10, 2022, Plaintiffs deposed Dr. Sadowski.
19           13.     During her testimony, Dr. Sadowski relied on a “Fact Sheet,” which was marked as
20 Exhibit 2 for that deposition. A true and correct copy of that document is attached hereto as

21 Exhibit 2.

22           14.     This “Fact Sheet” stated that Google had multiple, live logs containing fields with
23 the word “incognito,” including “is_chrome_non_incognito” and “is_chrome_incognito.” See

24 Exhibit 2.

25           15.     The document identifies at least five logs that contain those fields, none of which
26 had previously been disclosed to Plaintiffs (or to the Court or Special Master Brush).

27           16.     When Dr. Sadowski was asked to review the November 18, 2022 Declaration of
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1     Andre Golueke and the list of data sources attached thereto in Exhibit A, Dr. Sadowski testified
2     that the declaration did not list any of the five logs that contain either “is_chrome_non_incognito”
3     or “is_chrome_incognito.” Exhibit 3, Sadowski Tr. 79:19-80:9.
4            17.     Despite Plaintiffs’ multiple requests and meet and confer efforts, Google still has
5     not provided Google’s schema for these additional logs containing the Chrome Incognito fields.
6            18.     Google’s counsel also will not confirm how many logs it left out from the Special
7     Master process that contain the term “incognito” in a field name, or if Google made a full
8     production of all documentation relating to these log fields. Plaintiffs have also repeatedly asked
9     for confirmation that documentation around the omitted logs has been produced, but Google’s
10 counsel has not commented one way or the other.

11           19.     On March 11, 2022, following the Rule 30(b)(6) deposition, Plaintiffs raised these
12 issues with the Special Master, explaining that the deficiencies are also relevant to the pending

13 motion for an Order to Show Cause, and the Special Master indicated that he did not object to

14 Plaintiffs raising these issues directly with the Court.

15           20.     Google had initially maintained that only the 100-largest fields for schema would
16 be produced. According to Google, the reason it would not produce schema containing all of the

17 fields in some of these logs is because there were over                  in these logs.
18           21.     Plaintiffs never agreed to this limitation, consistently requested schema containing
19 all of the fields in the logs, and Google has recently admitted that this alleged 100-largest field

20 limitation can be overcome.

21           22.     On March 11, 2022, Google produced more robust schema for the
22                      log that showed the “is_chrome_non_incognito” field. This log, despite having
23 an “incognito” field, was not identified in the Declaration of Andre Golueke, Exhibit A (Dkt. 338).

24 Instead, after learning that Bert Leung had analyzed this log for his Incognito detection work,

25 Plaintiffs in December requested this log, and the Special Master ordered Google to produce it

26 (over Google’s objection). Even after being compelled to produce this log, Google still initially

27 produced an incomplete version of the schema that omitted the “is_chrome_non_incognito” field.

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1               23.   On March 11, 2022, Google produced for the first time a more complete schema
2     for the                      log, another log used by Bert Leung. This schema likewise revealed
3     for the first time that this log also included the “is_chrome_non_incognito” field.
4               24.   On March 11, 2022, Google also produced schema for               logs containing the
5     “maybe_chrome_incognito” field relied on by Chris Liao, Bert Leung, and Mandy Liu, further
6     demonstrating that Google has alternatives to produce schema with fields containing “incognito.”
7               25.   On March 8, 2022, pursuant to the Court’s order, Plaintiffs deposed Google
8     employee Mandy Liu, who is one of the Google employees who created the
9     “maybe_chrome_incognito” field. See Exhibit 4 (excerpts from Liu transcript).
10              26.   Ms. Liu testified that the “maybe_chrome_incognito” field value is expressed as a
11 Boolean bit, which means that it simply stores a “true” or “false” value. Exhibit 4, Liu Tr. 19:24-

12 20:8. Ms. Liu further testified that Google could run a query for all log entries in which

13 “maybe_chrome_incognito” is set to true. Exhibit 4, Liu Tr. 41:23-42:12.

14              27.   Dr.   Sadowski     similarly   testified   that   the   “is_chrome_incognito”     and
15 “is_chrome_non_incognito” field values are stored as “true” or “false.” Exhibit 3, Sadowski Tr.

16 91:2-8.

17              28.   Because these fields store only a “true” or “false” value, the fields only use one bit
18 to express that value. Other fields that contain a numerical integer, for example, would require at
19 least 32 bits of storage.

20              29.   Because a single bit field value is substantially smaller than any field value with an
21 integer (i.e., 1 bit versus 32 bits), the “maybe_chrome_incognito” bit would necessarily be smaller

22 than any field containing an integer, and it would therefore not be represented in the 100-largest

23 fields that Google previously offered for schema.

24              30.   Plaintiffs have tried to confer with Google’s counsel multiple times regarding the
25 discrepancies concerning Google’s schema productions. Google’s counsel still will not commit to

26 producing full schemas for the logs identified during the Special Master process or identify all logs

27 that stored bits regarding Chrome Incognito usage.
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1            31.    Attached hereto as Exhibit 1 is a true and correct copy of a document Google
2     produced in discovery labeled GOOG-BRWN-00536949.              The document was produced on
3     October 5, 2021.
4            32.    Attached hereto as Exhibit 2 is a true and correct copy of a document Google
5     produced during the deposition of Dr. Caitlin Sadowski, marked as Exhibit 2 to that deposition.
6            33.    Attached hereto as Exhibit 3 are excerpts from the transcript of the deposition of
7     Dr. Caitlin Sadowski conducted on March 10, 2022.
8            34.    Attached hereto as Exhibit 4 are excerpts from the transcript of the deposition of
9     Ms. Mandy Liu conducted on March 8, 2022.
10           I declare under penalty of perjury under the laws of the United States of America that the
11 foregoing is true and correct. Executed this 21st day of March, 2022, at San Francisco, California.

12
                                                          /s/ Mark C. Mao
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                  EXHIBIT 1

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                   EXHIBIT 2

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                    EXHIBIT 3

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          be Sealed
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                                CONFIDENTIAL

1                     IN THE UNITED STATES DISTRICT COURT
2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                                  SAN JOSE DIVISION
4                                          ---o0o---
5    CHASOM BROWN, et al.,                            )
     on behalf of themselves and                      )
6    all others similarly                             )
     situated,                                        )
7                                                     )
                    Plaintiffs,                       )Case No.
8                                                     )5:20-cv-03664-LHK
     vs.                                              )
9                                                     )
     GOOGLE LLC,                                      )
10                                                    )
                    Defendant.                        )
11   ______________________________)
12
13                                         ---o0o---
14                        Videotaped Zoom Deposition of
15                              DR. CAITLIN SADOWSKI
16                                     CONFIDENTIAL
17                           Thursday, March 10, 2022
18                                         ---o0o---
19
20
21
22
23   Katy E. Schmidt
24   RPR, RMR, CRR, CSR 13096
25   Veritext Job No.: 5130524

                                                                  Page 1

                               Veritext Legal Solutions
                                    866 299-5127
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1                MR. MCGEE:     Actually, I'd like to go off the           03:56

2    record right now.                                                     03:56

3                MR. ANSORGE:     Okay.     Let's go off the record.       03:56

4                THE VIDEOGRAPHER:        We're now going off the          03:56

5    record.    The time is 3:56 p.m.                                      03:56

6                    (Break taken in proceedings.)                         03:56

7                THE VIDEOGRAPHER:        We are now back on the           04:15

8    record.    The time is 4:15 p.m.                                      04:15

9                             (Plaintiffs' Exhibit 2 was                   04:15

10                            marked for identification.)                  04:15

11   BY MR. MCGEE:                                                         04:15

12         Q.    Dr. Sadowski, when we went off the record, we             04:15

13   were provided what I've marked as Exhibit 2.                          04:15

14               Is that the document that you referenced was              04:15

15   the fax sheet?                                                        04:15

16         A.    I should look at the drive folder and see.                04:15

17               Okay.     I see something called Exhibit 2.        I am   04:16

18   opening it now.                                                       04:16

19         Q.    Great.     Thank you.                                     04:16

20         A.    Yes.     This document is what I had referred to          04:16

21   as, I believe, reference sheet.                                       04:16

22         Q.    Okay.     And the third line it says "No fields           04:16

23   named" and in bold "not_Chrome_incognito or                           04:16

24   Chrome_non_incognito."                                                04:16

25               What is that reference, the "No fields named"?            04:16

                                                                     Page 18

                                Veritext Legal Solutions
                                     866 299-5127
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                                CONFIDENTIAL

1    What does that mean?                                                04:16

2          A.    I mentioned I use our internal code search              04:16

3    tool to look up these two field names, and they did not             04:16

4    appear.                                                             04:16

5          Q.    Okay.    So it's your testimony that with the           04:16

6    internal code search tool, the not underscore Chrome                04:16

7    underscore incognito search term did not return any                 04:17

8    results?                                                            04:17

9          A.    Yes.    When I looked at -- when I did a search         04:17

10   for not underscore Chrome underscore incognito across               04:17

11   Google's multibillion line repository that I have access            04:17

12   to internally, I did not get any search results.                    04:17

13         Q.    Do you know what data sources that tool                 04:17

14   searches over?                                                      04:17

15               MR. ANSORGE:    Objection.       Vague and out of       04:17

16   scope.                                                              04:17

17   BY MR. MCGEE:                                                       04:17

18         Q.    You can answer.                                         04:17

19         A.    The code search tool searches over a                    04:17

20   multibillion line code base.        That's the main code base       04:17

21   that is used at Google.                                             04:17

22         Q.    Okay.    Let me ask it this way:                        04:18

23               Are there any data sources that would not be            04:18

24   searched by that tool?                                              04:18

25               MR. ANSORGE:    Objection.       Vague.                 04:18

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1                 THE WITNESS:     There are millions or billions          04:18

2    of data sources in the world.          Many of them would not be      04:18

3    searched via that tool.                                               04:18

4    BY MR. MCGEE:                                                         04:18

5          Q.     Okay.    Let me ask it this way:                         04:18

6                 Within Google, are there any data sources that           04:18

7    that tool would not search?                                           04:18

8                 MR. ANSORGE:     Objection.      Vague, and out of       04:18

9    the scope.                                                            04:18

10                THE WITNESS:     Yes.                                    04:18

11   BY MR. MCGEE:                                                         04:18

12         Q.     What sources are those?                                  04:18

13         A.     There are many.     One example is the chromium          04:18

14   open source repository, which any -- anyone externally                04:18

15   can also search over.                                                 04:19

16         Q.     Okay.    What other sources would it not search          04:19

17   within Google?                                                        04:19

18                MR. ANSORGE:     Same objection.                         04:19

19                THE WITNESS:     My e-mail.                              04:19

20   BY MR. MCGEE:                                                         04:19

21         Q.     Okay.                                                    04:19

22         A.     As an example.                                           04:19

23         Q.     What other data sources?                                 04:19

24         A.     The --                                                   04:19

25                MR. ANSORGE:     Same objection.                         04:19

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1                 THE WITNESS:    -- e-mail of -- oh -- other              04:19

2    e-mails.                                                              04:19

3    BY MR. MCGEE:                                                         04:19

4            Q.   What other data source would it not search               04:19

5    over?                                                                 04:19

6            A.   Documents in a drive folder.                             04:19

7            Q.   Would it search all log files?                           04:19

8                 MR. ANSORGE:    Objection.       Vague, and out of       04:19

9    scope.                                                                04:20

10                THE WITNESS:    Code search does not search over         04:20

11   log files.     Code search searches over source code.                 04:20

12   BY MR. MCGEE:                                                         04:20

13           Q.   Okay.   Would it search over proto files?                04:20

14                MR. ANSORGE:    Objection.       Vague.                  04:20

15                THE WITNESS:    It would search over proto               04:20

16   definitions.                                                          04:20

17   BY MR. MCGEE:                                                         04:20

18           Q.   Would it search all available proto                      04:20

19   definitions or is it a subset?                                        04:20

20                MR. ANSORGE:    Objection.       Calls -- objection.     04:20

21   Calls for speculation and out of scope.                               04:20

22                THE WITNESS:    It would search over all                 04:20

23   proto definitions in Google's main repository.                        04:20

24   BY MR. MCGEE:                                                         04:20

25           Q.   Okay.   Let me ask it this way:                          04:20

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1                 If there was a field in a log file that had             04:21

2    not underscore Chrome underscore incognito but that same             04:21

3    not underscore Chrome underscore incognito did not have              04:21

4    a field or a proto definition, would your internal code              04:21

5    search tool return results for that search term?                     04:21

6                 MR. ANSORGE:     Objection.      Form, and incomplete   04:21

7    hypothetical.                                                        04:21

8                 THE WITNESS:     I could create a proto field on        04:21

9    my local machine with any field names that I want, and               04:21

10   create a proto -- a proto file for testing with some                 04:21

11   kind of -- or on the machine that I do work -- work at.              04:21

12   So you could create a specific proto with an arbitrary               04:21

13   name and log that specific proto.                                    04:22

14   BY MR. MCGEE:                                                        04:22

15         Q.     Okay.    Let me ask you this:                           04:22

16                Are all proto fields -- do they all have                04:22

17   descriptions at Google?                                              04:22

18                MR. ANSORGE:     Objection.      Vague and              04:22

19   foundation, and out of the scope.                                    04:22

20                THE WITNESS:     I have not seen all proto fields       04:22

21   at Google.                                                           04:22

22   BY MR. MCGEE:                                                        04:22

23         Q.     All right.     Are there proto fields that you've       04:22

24   seen at Google that did not have descriptions?                       04:22

25         A.     Yes.    But it also depends on what you mean by         04:22

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1    description.    I am assuming that you are referring to a            04:22

2    code comment directly above the name of the field.           I       04:23

3    have seen proto fields at Google that do not have a code             04:23

4    comment directly above the name of the field.                        04:23

5          Q.    Okay.                                                    04:23

6          A.    Typically in those cases the name of the field           04:23

7    is descriptive.                                                      04:23

8          Q.    So if not underscore Chrome underscore                   04:23

9    incognito did not have what you just described, would it             04:23

10   still -- would your internal code search tool return any             04:23

11   results for it?                                                      04:23

12               MR. ANSORGE:    Objection.       Form, and calls for     04:23

13   speculation, and out of scope.                                       04:23

14               THE WITNESS:    If there was a proto field in            04:23

15   the main Google repository that had a particular name,               04:23

16   that field would be returned when searching for it,                  04:23

17   regardless of whether there was a comment in the code                04:23

18   next to the field.                                                   04:24

19   BY MR. MCGEE:                                                        04:24

20         Q.    Okay.   Let me ask it more on a broad level.             04:24

21               Your search for the not underscore Chrome                04:24

22   underscore incognito with the internal code search tool,             04:24

23   you said it did not return any results.                              04:24

24               Is that correct?                                         04:24

25         A.    That is correct.                                         04:24

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1          Q.     Are there any other ways that you could search            04:24

2    to see if the not underscore Chrome underscore incognito               04:24

3    search term exists within any -- exists at Google?                     04:24

4                 So just to give you an example, I understand              04:24

5    that you're saying that the internal code search tool is               04:24

6    limited in what it can return because of the limitations               04:24

7    that you just described.                                               04:24

8                 Are there other ways to search for that not               04:24

9    underscore Chrome underscore incognito at Google?                      04:25

10                MR. ANSORGE:    Objection.       Form.    Compound.       04:25

11   And out of the scope.                                                  04:25

12                THE WITNESS:    I could -- there are always ways          04:25

13   to search for something.        I could, for example, navigate         04:25

14   to a doc in my drive folder and search over that doc.                  04:25

15   I could use public Google search and search for that                   04:25

16   term -- for that string rather, just, you know, not                    04:25

17   anything that's Google internal but something that's                   04:25

18   visible equally outside of Google.                                     04:25

19                As I mentioned, there are other repositories,             04:25

20   like the chromium open source repository.              There could     04:25

21   be other code or documents at Google that I do not have                04:25

22   access to.     Over the main multibillion line repository,             04:25

23   I did not see a field with that name.                                  04:26

24   BY MR. MCGEE:                                                          04:26

25         Q.     Okay.   For -- okay.      What dashboards are             04:26

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1    going to belabor the questions.         They're the same.   I         05:49

2    won't even ask them to you.                                           05:49

3                So if you can turn to Exhibit 14, please.                 05:49

4          A.    I still see 12 as the top one so...                       05:49

5          Q.    Oh, okay.                                                 05:49

6          A.    Just a minute.    I'm reloading.                          05:49

7          Q.    Yeah.   No problem.                                       05:49

8          A.    Okay.   I see something called Exhibit 14.          I'm   05:50

9    opening it.                                                           05:50

10               I see what appears to be a shorts design                  05:50

11   document that starts with                                             05:50

12                                                                         05:50

13         Q.    Have you ever seen this design document                   05:50

14   before?                                                               05:50

15         A.    Yes.                                                      05:50

16         Q.    When?                                                     05:50

17         A.    In preparation for this deposition.                       05:50

18         Q.    Did you speak with anybody in preparation for             05:50

19   this deposition about this design document?                           05:50

20         A.    Yes.                                                      05:50

21         Q.    Who, aside from your lawyers?                             05:50

22         A.    Quentin Fiard.                                            05:50

23         Q.    And what department is Quentin Fiard with in              05:50

24   Google?                                                               05:51

25         A.    I don't remember what he works on right now,              05:51

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1    but he used to work on              in -- on           at the       05:51

2    time this document was produced.                                    05:51

3          Q.    Okay.   And why did you choose to speak with            05:51

4    Quentin Fiard about this document?                                  05:51

5          A.    From the comment threads in the document, it's          05:51

6    clear that he is the person who is most knowledgeable               05:51

7    about the document.                                                 05:51

8          Q.    Okay.   Did you speak with anyone else whose            05:51

9    identity is reflected in this document?                             05:51

10               MR. ANSORGE:     Objection.      Form, and vague.       05:51

11               THE WITNESS:     In the comments I see a                05:51

12   selection of four different user names.                             05:51

13               Are you asking about that set of four user              05:52

14   names?                                                              05:52

15               MR. MCGEE:     Yes.                                     05:52

16               THE WITNESS:     Quentin Fiard I spoke to in            05:52

17   preparation for this deposition, and not previously.                05:52

18               The only other user name that I recognize is            05:52

19   msramek.                                                            05:52

20   BY MR. MCGEE:

21         Q.    And who is that?                                        05:52

22         A.    He has Chrome's privacy working group.         We       05:52

23   have a close relationship because we take user privacy              05:52

24   very seriously, and we talk to the privacy working group            05:52

25   whenever there is anything that comes up related to                 05:52

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1    privacy that we have questions about and to ensure that                05:52

2    we are upholding all the privacy policies that Google as               05:52

3    a company supports and that we want to be supporting as                05:52

4    a team.                                                                05:53

5          Q.    And what is that person's name?                            05:53

6          A.    Martin Sramek.                                             05:53

7          Q.    Do you know how to spell Martin's last name?               05:53

8          A.    I believe it is S-r-a-m-e-k.          The same as in       05:53

9    this user name.                                                        05:53

10         Q.    Okay.   And what is this design document?           What   05:53

11   is it talking about?                                                   05:53

12               MR. ANSORGE:     Objection.      Vague, and form.          05:53

13               THE WITNESS:     Reading from the design                   05:53

14   document:                                                              05:53

15                                                                          05:53

16                                                                          05:53

17                                                                          05:53

18                                                                          05:53

19                                                                          05:53

20                                                                          05:53

21               Do you -- would you like me to keep reading?               05:54

22               MR. MCGEE:     I thank you for pausing.       I would      05:54

23   not like you to keep reading.                                          05:54

24   BY MR. MCGEE:                                                          05:54

25         Q.    Does this design document relate to any                    05:54

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1    particular bit?                                                      05:54

2                Well, let me back that up.                               05:54

3                Are you familiar with something within Google            05:54

4    being described as a bit or a field?                                 05:54

5                MR. ANSORGE:     Objection.      Vague and compound.     05:54

6                THE WITNESS:     Many things within Google are           05:54

7    described as a bit or a field, either colloquially or                05:54

8    exactly.    At some level ultimately your computer is just           05:54

9    a sequence of bits.                                                  05:54

10               MR. MCGEE:     Right.   Ones and zeros.                  05:54

11   BY MR. MCGEE:                                                        05:54

12         Q.    But a field in a log, are you familiar with              05:54

13   that description or colloquialism at Google?                         05:54

14               MR. ANSORGE:     Objection.      Vague, and out of       05:55

15   scope.                                                               05:55

16               THE WITNESS:     Yes.                                    05:55

17   BY MR. MCGEE:                                                        05:55

18         Q.    And does this design document relate to any              05:55

19   field or fields at Google?                                           05:55

20         A.    Yes.                                                     05:55

21         Q.    Which?                                                   05:55

22         A.    I'm reading from my reference sheet to make              05:55

23   sure I get it right.                                                 05:55

24               This design document is related to the                   05:55

25   is underscore Chrome underscore non underscore incognito             05:55

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1    underscore mode.                                                         05:55

2          Q.     And how do you know that?                                   05:55

3          A.     Because the source code for that particular                 05:56

4    field, as you say, has a link to this design document                    05:56

5    and says that it is -- annotation that it is                             05:56

6    specifically limited to                  logs.                           05:56

7          Q.     And what is an               log?                           05:56

8          A.                                            , is my              05:56

9    understanding.                                                           05:56

10         Q.     And are they keyed by any particular                        05:56

11   identifiers?                                                             05:56

12                MR. ANSORGE:       Objection.       Vague, and out of       05:56

13   the scope.                                                               05:56

14   BY MR. MCGEE:                                                            05:56

15         Q.     You can answer.                                             05:56

16         A.     There is a -- looking at my reference sheet,                05:57

17   there is a set of                logs that is not GAIA keyed             05:57

18   and there are some                logs that are Zwieback or              05:57

19                             .                                              05:57

20         Q.     Okay.    And I see that from your reference                 05:57

21   sheet.                                                                   05:57

22                When you say that the is underscore Chrome                  05:57

23   underscore non underscore incognito is non-GAIA keyed,                   05:57

24   what does that mean?          How would you explain that?                05:57

25         A.     Sorry.    There was a beep when you were talking            05:57

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1    so I -- part of it cut off.                                          05:57

2          Q.    Sure.                                                    05:57

3                I'm asking -- let me mute my computer -- your            05:57

4    colleagues were e-mailing me.                                        05:57

5                The is underscore Chrome underscore non                  05:57

6    underscore incognito, you said that it's not GAIA keyed.             05:57

7                What do you mean by that?                                05:58

8          A.    I did not say that is underscore Chrome                  05:58

9    underscore non underscore incognito underscore mode is               05:58

10   not GAIA keyed.     You had asked about               logs.          05:58

11         Q.    Okay.   Let me just then back it up.                     05:58

12               On your information sheet, Notice 2, Topic 10,           05:58

13   there are -- there appear to be two field names or --                05:58

14   let me back it up so we're speaking the same language.               05:58

15               What would you consider the is underscore                05:58

16   Chrome underscore non underscore incognito -- how --                 05:58

17   what -- how would someone at Google describe that?              Is   05:58

18   it a field?    Is it a field name?        Is it a bit?    I'm        05:59

19   trying to understand that.        What's the jargon that             05:59

20   someone at Google would use to refer to those?                       05:59

21               MR. ANSORGE:    Objection.       Compound.               05:59

22               THE WITNESS:    I think there are many different         05:59

23   ways someone at Google might use to refer to those.                  05:59

24   There is multiple jargon we could call it.                           05:59

25               So I would say that is underscore Chrome                 05:59

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1    underscore non underscore incognito underscore mode is                 05:59

2    a binary field that is specifically used only in temp                  05:59

3               logs.                                                       05:59

4    BY MR. MCGEE:                                                          05:59

5          Q.      And why is it only in temp                logs?          05:59

6          A.      It was a field that was created by the                   06:00

7    team to help them understand potential problems with                   06:00

8    their product location and where searching so that they                06:00

9    could develop the best product possible for Google                     06:00

10   users.                                                                 06:00

11         Q.      Okay.    And it -- there's a note here that it           06:00

12   was introduced in 2017, but then the project wrapped up                06:00

13   in June of 2018.                                                       06:00

14                 Is that binary field still implemented at                06:00

15   Google?                                                                06:00

16                 MR. ANSORGE:    Objection.       Vague.                  06:00

17                 THE WITNESS:    That binary field is -- still            06:00

18   exists as a binary field in and only in                    logs.       06:00

19   BY MR. MCGEE:                                                          06:01

20         Q.      Are values written to that binary field in               06:01

21              logs?                                                       06:01

22         A.      Yes.    I believe values are written to that             06:01

23   binary field in              logs.                                     06:01

24         Q.      So even though the project wrapped in June of            06:01

25   2018, that is still an actively used binary field?                     06:01

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1                MR. ANSORGE:    Objection.       Form.                    06:01

2                THE WITNESS:    As I understand it, it is not             06:01

3    actively used.     It is still being written.         It is not       06:01

4    being reviewed.                                                       06:01

5    BY MR. MCGEE:                                                         06:01

6          Q.    Can you please clarify what you mean by "not              06:01

7    being reviewed"?                                                      06:01

8          A.    So from talking to Quentin, this field went               06:02

9    into a particular dashboard that the                  team used       06:02

10   to identify situations where they are not getting a                   06:02

11   location header but should be getting a location header.              06:02

12   And if a -- in situations where an X-Client-Data header               06:02

13   is not sent, they would also expect a location header to              06:02

14   not be sent in most situations like that.                             06:02

15               So if there is an X-Client-Data header but                06:02

16   there's no location header, then that's potentially                   06:02

17   indicative of a bug in the system.                                    06:02

18               So they have a dashboard that shows, you know,            06:02

19   how often that occurs and they could look at to, you                  06:02

20   know, minimize the amount of times where a location                   06:02

21   header should be sent but isn't sent.            And they use that    06:03

22   dashboard to improve the product in this 2017-2018 time               06:03

23   range.                                                                06:03

24               And from talking to Quentin, my understanding             06:03

25   is there's -- they're not actually looking at that                    06:03

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1    particular graph anymore in the normal course of                          06:03

2    operations for the team.                                                  06:03

3          Q.    But if they pulled up the graph, there would                  06:03

4    be responsive data that would fill in the graph;                          06:03

5    correct?                                                                  06:03

6                MR. ANSORGE:    Objection.       Vague, and calls for         06:03

7    a legal conclusion.                                                       06:03

8                THE WITNESS:    I don't know what you mean by                 06:03

9    responsive data that would fill in the graph.                             06:03

10   BY MR. MCGEE:                                                             06:03

11         Q.    Sure.                                                         06:03

12               So you're saying they aren't looking at the                   06:03

13   graph anymore.      They're not reviewing it.                             06:03

14               What I'm asking is:       Is if they did pull up              06:04

15   the graph, the graph would still have lines or bars or                    06:04

16   whatever visual representation or graphical                               06:04

17   representation the graph was designed to display.                         06:04

18               Is that fair?                                                 06:04

19               MR. ANSORGE:    Objection.       Compound.        Form.       06:04

20               THE WITNESS:    My understanding is that is                   06:04

21   underscore Chrome underscore non underscore incognito                     06:04

22   underscore mode is a field that is being filled in in                     06:04

23   UMA -- not UMA -- not in UMA logs.           It is not in UMA             06:04

24   logs, to be clear.      It is only in                 logs.    And it     06:04

25   is a field that is still being filled in in                       logs    06:04

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1    today, despite the fact that the reason the field was                   06:04

2    introduced has passed.                                                  06:04

3    BY MR. MCGEE:                                                           06:05

4          Q.      Okay.     And from your fact sheet, the                   06:05

5    is underscore Chrome underscore non underscore                          06:05

6    incognito -- so without the underscore mode --                          06:05

7                  THE COURT REPORTER:       I'm so sorry, Counsel.          06:05

8    Can you start that question over?            There was a little         06:05

9    bit of feedback.         I didn't get it.                               06:05

10                 MR. MCGEE:     Sure.                                      06:05

11   BY MR. MCGEE:

12         Q.      So the -- you've got two bullet points in your            06:05

13   fact sheet.                                                             06:05

14                 One is the is underscore Chrome underscore                06:05

15   non underscore incognito, no GAIA.                                      06:05

16                 What does that mean?                                      06:05

17         A.      What that means is that the -- these                      06:05

18   logs that have this field set are not GAIA keyed.              They     06:05

19   have location information.           And then this is a Boolean         06:05

20   field, so it would be true or false.              And there's the       06:06

21   location information, plus the Boolean field in the                     06:06

22              temp logs.                                                   06:06

23         Q.      Got it.                                                   06:06

24         A.      And not -- notably not GAIA IDs.                          06:06

25         Q.      Understood.                                               06:06

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1                  And then in is underscore Chrome underscore              06:06

2    incognito, there are either Zwieback or                                06:06

3                        ?                                                  06:06

4           A.     To be clear --                                           06:06

5                  MR. ANSORGE:     Objection.      Form.                   06:06

6                  THE WITNESS:     There are not Zwieback or               06:06

7                            inside is underscore Chrome                    06:06

8    underscore incognito.        I believe that is the name of a           06:06

9    field that is in the logs listed on this reference sheet               06:07

10   below.      Those logs have a Zwieback or                              06:07

11   in them, as well as this field.                                        06:07

12   BY MR. MCGEE:                                                          06:07

13          Q.     Do you know what other identifiers exist in              06:07

14   the GFS temp slash -- okay.          Let me just -- I'm not even       06:07

15   going to read it out for you.                                          06:07

16                 But what other identifiers exist in the first            06:07

17   sub-bullet point of the is underscore Chrome underscore                06:07

18   non underscore incognito list there?                                   06:07

19                 MR. ANSORGE:     Objection.      Vague.   Out of the     06:07

20   scope, and foundation.                                                 06:07

21                 THE WITNESS:     I am not familiar with the full         06:07

22   set of things that is in this -- in that log.              I can       06:07

23   tell you there is not an un-obfuscated GAIA ID.              I can     06:08

24   also tell you that there is no direct mapping of this to               06:08

25   UMA.     So there is no UMA client ID or a way to somehow              06:08

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1    combine this with UMA data.                                        06:08

2                MR. MCGEE:     I think we've been going for about      06:08

3    40 minutes now.     I just need to take a break so --              06:08

4                MR. ANSORGE:     Yeah.     I'm fine with that.         06:08

5                Could we get a time count as well?         How much    06:08

6    time is left on the record?                                        06:08

7                THE VIDEOGRAPHER:        Yeah.   So off the record?    06:08

8                MR. MCGEE:     Yes.   Off the record.                  06:08

9                THE VIDEOGRAPHER:        Okay.   We're now going off   06:08

10   the record.     The time is 6:08 p.m.                              06:08

11                    (Break taken in proceedings.)                     06:17

12               THE VIDEOGRAPHER:        We are now back on the        06:17

13   record.    The time is 6:18 p.m.                                   06:17

14   BY MR. MCGEE:                                                      06:18

15         Q.    Dr. Sadowski, for the bits that we were -- or          06:18

16   excuse me -- the binary fields that we were just talking           06:18

17   about, the is underscore Chrome underscore non                     06:18

18   underscore incognito underscore mode, is underscore                06:18

19   Chrome underscore non-underscore incognito, and                    06:18

20   is underscore Chrome underscore incognito, do you know             06:18

21   what logic is being used to derive the values that are             06:18

22   stored in those binary fields?                                     06:18

23               MR. ANSORGE:     Objection.      Vague and compound.   06:18

24               THE WITNESS:     I believe the is underscore           06:18

25   Chrome underscore non underscore incognito is referring            06:18

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1    to the same thing as is underscore Chrome underscore non            06:18

2    underscore incognito underscore mode.            I do know about    06:18

3    how that field is filled in.                                        06:19

4    BY MR. MCGEE:                                                       06:19

5          Q.    Okay.   And what's the logic for filling in             06:19

6    that field?                                                         06:19

7          A.    It looks specifically at whether there is an            06:19

8    X-Client -- X hyphen Client hyphen Data header in the               06:19

9    request that is sent.                                               06:19

10         Q.    Is there any other thing that it looks for or           06:19

11   is that all that it looks for?                                      06:19

12         A.    I believe that is all that it looks for.          The   06:19

13   is underscore Chrome underscore non underscore incognito            06:19

14   underscore mode is if there is a X-Client-Data --                   06:19

15   X-Client-Data header sent, then that is the logic used              06:20

16   to set that to true.                                                06:20

17               This is a proxy for incognito, but it is not            06:20

18   a what I would call a reliable or accurate way to                   06:20

19   determine incognito usage.                                          06:20

20         Q.    Okay.   And what's the -- what types of traffic         06:20

21   is this logic being applied to?          Is it mobile traffic?      06:20

22   Is it -- you know, is it platform specific?                         06:20

23               MR. ANSORGE:    Objection.       Vague and compound.    06:20

24               THE WITNESS:    It is in              logs              06:21

25                               .   I believe it will be                06:21

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1    cross-platform, but I do not know for certain.         I would   06:21

2    have to investigate.                                             06:21

3    BY MR. MCGEE:

4          Q.     Who would you speak with at Google to               06:21

5    investigate that?                                                06:21

6          A.     I would speak again with Quentin Fiard if I         06:21

7    had a question about the -- this particular field in             06:21

8    Oolong logs.                                                     06:21

9          Q.     Okay.   And then I did this backwards but --        06:21

10   apologies.                                                       06:21

11                I can -- I've introduced two new exhibits.          06:21

12   They're going to be 16 and 15.                                   06:22

13                             (Plaintiffs' Exhibits 15 and 16        06:22

14                             were marked for identification.)       06:22

15   BY MR. MCGEE:                                                    06:22

16         Q.     But I'd actually like you to look at 16 first.      06:22

17         A.     16 first?     Okay.   I'm waiting for it to load.   06:22

18         Q.     Thank you.                                          06:22

19         A.     One other thing to answer your question.            06:22

20                To the best of my knowledge the is underscore       06:22

21   Chrome underscore incognito field is derived from the            06:22

22   is underscore Chrome underscore non underscore incognito         06:22

23   underscore mode.      It is still depending on X-Client-Data     06:22

24   header logic and also looking at the user agent, but it          06:22

25   is not derived through some other mechanism than                 06:22

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1    presence or absence of X-Client-Data header, and                 06:23

2    suffers from the same limitations.                               06:23

3          Q.    So for the is underscore Chrome underscore           06:23

4    non underscore incognito, does that look -- you                  06:23

5    mentioned user agent.                                            06:23

6                Does that one look at user agent?                    06:23

7          A.    To the best of my recollection, it does not.         06:23

8    It is looking at whether there is an X-Client-Data               06:23

9    header with the assumption that it would be coming from          06:23

10   Chrome if that header shows up.          That assumption could   06:23

11   be false, but I would -- Chrome is the browser that use          06:23

12   that header.                                                     06:23

13         Q.    So then why does is underscore Chrome                06:23

14   underscore incognito look at a user agent in addition to         06:23

15   the X-Client-Data header?                                        06:24

16               MR. ANSORGE:    Objection.       Vague.              06:24

17               THE WITNESS:    If you are looking at -- so if       06:24

18   you have an X-Client-Data header, that implies that it's         06:24

19   coming from Chrome.     The absence of an X-Client-Data          06:24

20   header does not -- in some kind of data sense does not           06:24

21   have the same implication.                                       06:24

22   BY MR. MCGEE:                                                    06:24

23         Q.    Okay.                                                06:24

24         A.    Should I look at Exhibit 16?                         06:24

25         Q.    Yes, please.    Exhibit 16.                          06:24

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1                 Actually --                                                 06:24

2            A.   There --                                                    06:25

3            Q.   -- I'm really sorry.       Can you look at                  06:25

4    Exhibit 15, please?                                                      06:25

5            A.   Okay.    I see a document at the top in blue it             06:25

6    says "Document 338," and it starts with "In The                          06:25

7    United States District Court For The Northern District                   06:25

8    of California, San Jose Division."                                       06:25

9            Q.   Have you ever seen this document before?                    06:25

10           A.   The preamble looks unfamiliar.            I am scrolling    06:25

11   down.                                                                    06:25

12                This document looks unfamiliar.                             06:26

13           Q.   Okay.    Do you know who Andre Goleuke is,                  06:26

14   G-o-l-e-u-k-e?       I apologize if I mispronounced that.                06:26

15                MR. ANSORGE:    Objection.       Out of the scope.          06:26

16   BY MR. MCGEE:                                                            06:26

17           Q.   You can answer.                                             06:26

18           A.   No, I do not.                                               06:26

19           Q.   Okay.    If you'll turn to what was attached as             06:26

20   Exhibit A.                                                               06:26

21                The logs you identified under "Fact Sheet,"                 06:26

22   under "Notice 1, Topic 10," do any of those logs or data                 06:26

23   sources appear in Exhibit A, whether directly or by any                  06:26

24   other name?                                                              06:27

25                MR. ANSORGE:    Objection.       Vague.     Compound.       06:27

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1    Foundation, and out of the scope.                                     06:27

2                 THE WITNESS:    I do not see those -- the --             06:27

3    those particular strings in this document.             I am not       06:27

4    familiar with many of the names in this document or how               06:27

5    it was generated.      I just saw it.        So I cannot answer       06:27

6    the "by any other" name parts.                                        06:27

7                 But this document -- I do not see the word               06:27

8                in this document, and the log sources you were            06:27

9    referencing were             logs.                                    06:28

10   BY MR. MCGEE:                                                         06:28

11         Q.     Okay.   So by way of example, if we go to the            06:28

12   sixth page of the document itself -- there's eight                    06:28

13   pages -- there's a                                                    06:28

14                That -- is there any possibility that the                06:28

15   first log source that's listed under the first bullet                 06:28

16   point could be referred to as                           ?             06:28

17                MR. ANSORGE:    Objection.       Vague.                  06:28

18   Mischaracterizes the evidence and foundation.               And out   06:28

19   of scope.                                                             06:28

20   BY MR. MCGEE:                                                         06:28

21         Q.     You can answer.                                          06:28

22         A.     Your question was whether the specific strings           06:28

23   representing log sources listed in the reference sheet                06:29

24   would be referred to as                           ?                   06:29

25         Q.     By way of example.      Sure.                            06:29

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1           A.     I would be very surprised.                                  06:29

2           Q.     Okay.                                                       06:29

3           A.     If someone referred to those as                         ,   06:29

4    I would expect someone to refer to them as                    logs        06:29

5    or have the word                   in the name.     That is the name      06:29

6    used to refer to logs for that particular product and                     06:29

7    they are only for              .                                          06:29

8           Q.     Okay.     And if I can draw your attention to               06:29

9    Exhibit 16.                                                               06:29

10          A.     But I'm not going to speculate what other                   06:29

11   people could refer to something as.             I would refer to          06:30

12   them as               logs, and would generally expect that               06:30

13   people would refer to them as                   logs or with the          06:30

14   word              in the name.                                            06:30

15                 I have a document that says "Contains                       06:30

16   Information Designated 'Highly Confidential Attorneys'                    06:30

17   Eyes Only'" as the -- in quotes as the top line and then                  06:30

18   a lot of names.                                                           06:30

19          Q.     Okay.     And I'm presenting it to you.       There's       06:30

20   a lot of instructions.         But on the sixth page of the               06:30

21   document, and it is a "6" at the bottom, there's a                        06:30

22   topic.      And I'd represent that this is the topic that                 06:30

23   you were designated for but I don't believe --                            06:30

24                 And there's a carve-out, and Mr. Ansorge -- or              06:30

25   excuse me -- Dr. Ansorge will describe the carve-out.                     06:30

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1                But that you've been partially designated to         06:30

2    testify on this topic.                                           06:31

3                And I apologize, the lights in my office went        06:31

4    out.                                                             06:31

5                MR. ANSORGE:     Dr. Sadowski is designated for      06:31

6    the is underscore Chrome underscore incognito field, for         06:31

7    the not underscore Chrome underscore incognito field,            06:31

8    and for the Chrome underscore non underscore incognito           06:31

9    field.   She's not designated for the                            06:31

10   maybe_Chrome_incognito field, nor for anything else              06:31

11   that's covered by this topic, and all the questions that         06:31

12   relate to maybe_Chrome_incognito field or dashboard              06:31

13   fields on that are out of the scope.                             06:31

14               MR. MCGEE:     Okay.   But to be clear, Mr. --       06:31

15   Dr. -- I -- it's late.                                           06:31

16               Dr. Ansorge, it's -- part of the topic               06:31

17   includes why Google developed, implemented, and used any         06:31

18   such bit or field.       Also includes the log or traffic        06:31

19   sources, as well as the design used to determine the bit         06:32

20   or field, as well as any logs or data sources where such         06:32

21   a bit or field is used and how it is used.                       06:32

22               So I understand she's not designated for             06:32

23   maybe underscore Chrome underscore incognito, but for            06:32

24   the other three, you're not limiting her testimony based         06:32

25   on the further clarification of the topic, are you?              06:32

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1                MR. ANSORGE:     For the other three, she's             06:32

2    already testified as to the development, the                        06:32

3    implementation, the use of bits and fields.           We've gone    06:32

4    over those.                                                         06:32

5                MR. MCGEE:     Understood.     Just making sure         06:32

6    we're clear.                                                        06:32

7                I see.   Okay.                                          06:33

8                And -- okay.     I see what you're saying.              06:33

9                So Notice 2, Topic 10 has overlap with                  06:33

10   Notice 4, Topic 1, is what you're saying, Dr. Ansorge?              06:33

11               MR. ANSORGE:     I'm not sure it's Notice 4,            06:33

12   Topic 1, that that's a specific exhibit you're referring            06:33

13   to.                                                                 06:33

14               MR. MCGEE:     Exhibit 16.     Sure.                    06:33

15               MR. ANSORGE:     Dr. Sadowski already testified         06:33

16   as to each of those three fields.                                   06:33

17               MR. MCGEE:     Right.                                   06:33

18   BY MR. MCGEE:                                                       06:33

19         Q.    So, Dr. Sadowski, I understand that in the              06:33

20   beginning we spoke about this, but the -- you used an               06:33

21   internal code search tool to look for not underscore                06:33

22   Chrome underscore incognito.        That returned no results        06:33

23   but that tool did not search all data sources for                   06:34

24   Google; correct?                                                    06:34

25               MR. ANSORGE:     Objection.      Mischaracterizes       06:34

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1    prior testimony.                                                     06:34

2                 THE WITNESS:    I searched on our internal code         06:34

3    search tool over the multibillion line repository that               06:34

4    is viewable to me internally, and did not see that field             06:34

5    in the history of the repository.                                    06:34

6    BY MR. MCGEE:                                                        06:34

7          Q.     Okay.   And then the same thing for Chrome              06:34

8    underscore non underscore incognito?                                 06:34

9          A.     If you search for Chrome underscore                     06:34

10   non underscore incognito in the internal code search                 06:34

11   and browsing tool over the multibillion line repository              06:34

12   that's visible to me, when I did that, I got hits for                06:35

13   is underscore Chrome underscore non underscore incognito             06:35

14   underscore mode.                                                     06:35

15         Q.     Okay.   Did you do any other searches for               06:35

16   fields or bits that would contain the term "incognito"?              06:35

17         A.     No.                                                     06:35

18                MR. ANSORGE:    Objection.       Vague.                 06:35

19   BY MR. MCGEE:                                                        06:35

20         Q.     Did you do any other research or speak with             06:35

21   anyone at Google to determine whether any such fields                06:35

22   were developed whose function was intended to detect                 06:35

23   incognito usage?                                                     06:35

24                MR. ANSORGE:    Objection.       Vague and out of       06:35

25   the scope.                                                           06:35

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1                  THE WITNESS:    The only accurate way I know               06:36

2    about to report incognito usage statistics is through                    06:36

3    UMA because UMA is so privacy preserving that we can                     06:36

4    report statistics about incognito usage.                We do not have   06:36

5    other ways that we generate statistics -- accurate                       06:36

6    statistics about incognito usage.                                        06:36

7    BY MR. MCGEE:                                                            04:15

8          Q.      Right.                                                     04:15

9          A.      There is one proxy, this -- using the                      06:36

10   X-Client-Data header that's -- we have talked about the                  06:36

11              team used, but that is -- I would not                         06:36

12   characterize that as a reliable way to look at                           06:36

13   incognito usage statistics.                                              06:36

14                 If someone asked me how to look at incognito               06:36

15   usage statistics, I would say the ways through UMA and                   06:36

16   the metrics are visible in the external open source                      06:36

17   chromium repository for full transparency.                               06:37

18         Q.      Okay.    And did you do any further research to            06:37

19   see if any other fields can -- ever containing the word                  06:37

20   "incognito" were implemented by Google, aside from the                   06:37

21   four that are in this document and that you've                           06:37

22   previously described?                                                    06:37

23                 MR. ANSORGE:    Objection.       Vague, and out of         06:37

24   the scope.                                                               06:37

25                 THE WITNESS:    I did not do research on whether           06:37

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1    there are fields in some protocol buffer at Google that                  06:37

2    use the word "incognito."           That is an English word that         06:37

3    could have multiple meanings and could be used in                        06:37

4    arbitrary ways by arbitrary people at Google.                            06:37

5    BY MR. MCGEE:                                                            06:37

6            Q.      Okay.   And did you do any research to see if            06:38

7    any such bit or field containing the word "incognito" is                 06:38

8    being used at Google, other than what you've testified                   06:38

9    to today?                                                                06:38

10                   MR. ANSORGE:     Objection.      Out of the scope.       06:38

11   Form.        And asked and answered.                                     06:38

12                   THE WITNESS:     I believe I already answered            06:38

13   that.        I did not do extra research about fields in                 06:38

14   protocol buffers related to incognito beyond what we                     06:38

15   have talked about today.                                                 06:38

16   BY MR. MCGEE:                                                            06:38

17           Q.      Okay.   Who at Google is responsible for                 06:38

18   maintaining the UMA dashboards?                                          06:38

19                   MR. ANSORGE:     Objection.      Vague, and out of       06:38

20   scope.                                                                   06:38

21                   THE WITNESS:     My team.                                06:38

22   BY MR. MCGEE:                                                            06:39

23           Q.      I'm sorry.     You said your team?                       06:39

24           A.      My -- I manage the Chrome metrics team which             06:39

25   owns UMA infrastructure, including the dashboards.                       06:39

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1            Q.   Okay.    And who are those dashboards accessible       06:39

2    by at Google?                                                       06:39

3                 MR. ANSORGE:     Objection.      Vague.                06:39

4                 THE WITNESS:     The UMA dashboards are generally      06:39

5    available to engineers at Google.           Generally viewable by   06:39

6    engineers at Google.                                                06:39

7    BY MR. MCGEE:

8            Q.   For the -- going back to Exhibit No. 2, your           06:40

9    fact sheet, how did you determine for the Zwieback                  06:40

10   logs -- how did you determine that those were the                   06:40

11   responsive logs that contain that binary field?                     06:40

12           A.   What do you mean by Zwieback logs?        Zwieback     06:40

13   is a type of ID, not a type of log.                                 06:40

14           Q.   Right.                                                 06:40

15                The is underscore Chrome underscore incognito          06:40

16   and that it would -- Zwieback or                          and       06:40

17   then you list           logs; right?                                06:41

18                How did you determine a -- how was that list           06:41

19   created?     How were those logs identified?                        06:41

20           A.   By asking Quentin Fiard.                               06:41

21                If you're asking where did these bullet points         06:41

22   come from, he's the person that I talked to that knows              06:41

23   about           logs.                                               06:41

24           Q.   Okay.    And did he explain how he populated           06:41

25   that list?                                                          06:41

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1                MR. ANSORGE:     Objection.      Vague.                 06:41

2                THE WITNESS:     Populated what list?                   06:42

3    BY MR. MCGEE:                                                       06:42

4          Q.    The        log sources that are on that list, did       06:42

5    he explain how he identified those?           Or did you just       06:42

6    take his word for it?                                               06:42

7                MR. ANSORGE:     Objection.      Compound, and          06:42

8    argumentative.                                                      06:42

9                THE WITNESS:     I asked him about the -- what          06:42

10   logs were stored in             and what their retention            06:42

11   periods were, and he came back with this list.                      06:42

12   BY MR. MCGEE:                                                       06:42

13         Q.    When you did the internal code search for all           06:43

14   of these binary fields that we've identified in both                06:43

15   Notice 2, Topic 10, and then the other notice, did you              06:43

16   save the results of your queries?                                   06:43

17         A.    No.                                                     06:43

18         Q.    Why not?                                                06:43

19         A.    Because the way code search works, you search           06:43

20   for something, similar to Google search, you don't save             06:43

21   the results of your search if you are just looking up               06:43

22   a -- a stat -- like if you're looking if for definition             06:43

23   of a word or doing some math.                                       06:43

24         Q.    But I can .pdf the results of a Google search;          06:43

25   right?                                                              06:43

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1                 MR. ANSORGE:     Objection.      Form, and out of the     06:43

2    scope.                                                                 06:44

3                 THE WITNESS:     When developers look at or               06:44

4    browse source code, they use the code search tool.             They    06:44

5    do not save a copy of that tool on the side.             That is an    06:44

6    internally available code search tool.             You generally       06:44

7    shouldn't print out or save any kind of source code on                 06:44

8    your local machine.                                                    06:44

9                 So the way that you would view source code is             06:44

10   through the code search tool.          You don't save a copy of        06:44

11   your results.        You search for results afresh if you want         06:44

12   to see them again.                                                     06:44

13   BY MR. MCGEE:                                                          06:44

14         Q.     Okay.     When you -- did you use the internal            06:44

15   code search tool to search for the is underscore Chrome                06:44

16   underscore incognito?                                                  06:45

17         A.     I looked up not underscore Chrome underscore              06:45

18   incognito, Chrome underscore non underscore incognito,                 06:45

19   and is underscore Chrome underscore non underscore                     06:45

20   incognito underscore mode, and that returns the same                   06:45

21   set of results as Chrome underscore non underscore                     06:45

22   incognito.                                                             06:45

23         Q.     Okay.     But -- sorry.    To be clear, did you run       06:46

24   is underscore Chrome underscore incognito through the                  06:46

25   internal code search tool?                                             06:46

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1          A.     No.                                                         06:46

2          Q.     But you did run the other one.            And is that       06:46

3    how the list of log sources was populated in this                        06:46

4    Exhibit 2 for Notice 2, Topic 10?                                        06:46

5          A.     The way that the --                                         06:46

6                 MR. ANSORGE:    Objection.       Vague.                     06:46

7                 THE WITNESS:    The list -- the bulleted list in            06:46

8    Notice 2, Topic 10 were populated by Quentin Fiard.                      06:46

9    BY MR. MCGEE:

10         Q.     Okay.   But when you ran the is underscore                  06:46

11   Chrome -- when you ran is underscore Chrome -- you                       06:46

12   did -- let me ask it this way:                                           06:47

13                You did a lot of -- or you did a few internal               06:47

14   code search queries; right?                                              06:47

15         A.     Yes.                                                        06:47

16                I would also like to note that in the course                06:47

17   of my job, I frequently run internal code search                         06:47

18   queries.                                                                 06:47

19         Q.     Okay.                                                       06:47

20         A.     I did a couple code search queries in                       06:47

21   preparation for this case, either yesterday or this                      06:47

22   morning.     It has blended together and I'm not sure                    06:47

23   which.     But I make queries in code search in the normal               06:47

24   course of my job.                                                        06:47

25         Q.     Okay.   And one of those queries returned                   06:48

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1    results; right?                                                      06:48

2           A.    Yes.     If you search for Chrome underscore            06:48

3    non underscore incognito, that substring is part of a                06:48

4    name of a Boolean field in                 logs that I have          06:48

5    already testified about.        And that binary field is using       06:48

6    X-Client-Data header information to proxy incognito                  06:48

7    states.     It is not an accurate name for the binary                06:48

8    field, and it is not used in UMA logs.                               06:49

9           Q.    Okay.     I think I am -- very close.       Just want   06:49

10   to make sure.                                                        06:49

11                Does the is underscore Chrome underscore                06:49

12   non underscore incognito underscore mode bit exist in                06:49

13   non-          logs?                                                  06:49

14          A.    To the best of my knowledge, that is the only           06:49

15   place it exists.        If you -- this particular binary field       06:49

16   was developed with -- in -- as part of the design doc                06:50

17   that we reviewed earlier so that the                   team could    06:50

18   look at how often they don't get a location header when              06:50

19   they're expecting to get a location header using the                 06:50

20   presence -- or using the presence of the X-Client --                 06:50

21   presence or absence of the X-Client-Data header as a                 06:50

22   proxy here for situations when you would or wouldn't                 06:50

23   expect to get a location header.                                     06:50

24          Q.    I understand that.                                      06:50

25          A.    And that is the only way it is being used, to           06:50

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1    my knowledge.                                                      06:50

2          Q.     And what is the basis of your knowledge for --        06:50

3    what's the basis of your knowledge for that conclusion?            06:50

4          A.     A few different things.                               06:51

5                 Talking to Quentin Fiard who was involved in          06:51

6    actually implementing this field.                                  06:51

7                 Looking in code search, including historical          06:51

8    code search, for where this field is set and used.                 06:51

9                 And also if you look in the protocol buffer           06:51

10   that has this field, there is an annotation saying that            06:51

11   it is specifically only used in                   logs.            06:51

12                And that there's also a comment that links to         06:51

13   the design doc that we talked about earlier that is                06:51

14   related to this field.                                             06:51

15         Q.     And that comment is on an internal document at        06:51

16   Google?                                                            06:51

17         A.     It is a source code comment.                          06:51

18         Q.     Okay.                                                 06:52

19         A.     Not a document comment.        And it is a comment    06:52

20   directly above the definition of this field.                       06:52

21                MR. MCGEE:     Okay.   I don't have any further       06:52

22   questions.                                                         06:52

23                Thank you.                                            06:52

24                MR. ANSORGE:     We'd like to take a break to see     06:52

25   if we have any questions.                                          06:52

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1                Five minutes okay, Mr. McGee?                             06:52

2                MR. MCGEE:     As long as you need.       We can go       06:53

3    off.                                                                  06:53

4                MR. ANSORGE:     All right.      We'll go off the         06:53

5    record.                                                               06:53

6                THE VIDEOGRAPHER:        We are now going off the         06:53

7    record.   The time is 6:53 p.m.                                       06:53

8                    (Break taken in proceedings.)                         06:53

9                THE VIDEOGRAPHER:        We are now back on the           07:01

10   record.   The time is 7:01 p.m.                                       07:01

11               MR. ANSORGE:     Dr. Sadowski, thank you for your         07:01

12   patience and grace today.          No questions from us.    We're     07:01

13   happy to close the deposition at this time.                           07:01

14               Mr. McGee, should we go off the record?                   07:01

15               MR. MCGEE:     Yeah.     We can go off.    But before     07:01

16   we go off, I guess I would like to note Google has                    07:01

17   continued production of documents after the March 4th                 07:01

18   deadline for document production, so I won't be closing               07:01

19   this deposition.    But we can argue about that,                      07:01

20   Dr. Ansorge, later.                                                   07:02

21               MR. ANSORGE:     Yeah.     We can let Dr. Sadowski        07:02

22   get to her kids and we can argue about that, you know,                07:02

23   before and after our further brush of meet and confers.               07:02

24               MR. MCGEE:     Yeah.                                      07:02

25               MR. ANSORGE:     Okay.     So with that, we can go        07:02

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1    off the record.                                                    07:02

2                 MR. MCGEE:   Yes.                                     07:02

3                 THE VIDEOGRAPHER:    Conclusion of depo?              07:02

4                 We are now going off the record.        The time is   07:02

5    7:02 p.m. and this concludes today's testimony given by            07:02

6    Caitlin Sadowski.     The total number of media units used         07:02

7    was seven, and will be retained by Veritext Legal                  07:02

8    Solutions.                                                         07:02

9        (Whereupon, the deposition adjourned at 7:02 p.m.)

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                    EXHIBIT 4

     Redacted Version of
      Document Sought
        to be Sealed
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1                     IN THE UNITED STATES DISTRICT COURT
2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                                  SAN JOSE DIVISION
4                                          ---o0o---
5    CHASOM BROWN, et al.,                            )
     on behalf of themselves and                      )
6    all others similarly                             )
     situated,                                        )
7                                                     )
                    Plaintiffs,                       )Case No.
8                                                     )5:20-cv-03664-LHK
     vs.                                              )
9                                                     )
     GOOGLE LLC,                                      )
10                                                    )
                    Defendant.                        )
11   ______________________________)
12
13                                         ---o0o---
14                        Videotaped Zoom Deposition of
15                                         MANDY LIU
16                                     CONFIDENTIAL
17                            Tuesday, March 8, 2022
18                                         ---o0o---
19
20
21
22
23   Katy E. Schmidt
24   RPR, RMR, CRR, CSR 13096
25   Job No.: 5121622

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1            Q.   And if you know, was this project Bert's idea       07:18

2    or did someone else come up with the idea?                       07:18

3                 MR. ANSORGE:    Objection.       Form.              07:18

4                 THE WITNESS:    I'm not sure who came up with       07:18

5    this idea.                                                       07:18

6    BY MR. FRAWLEY:                                                  07:18

7            Q.   But it wasn't Bert?                                 07:18

8            A.   I'm not sure.                                       07:18

9            Q.   Now, can you go back a couple of pages to the       07:18

10   page that ends in Bates 925?                                     07:18

11           A.   Yeah.    I'm looking at it.                         07:19

12           Q.   And do you see the entry for February 11th,         07:19

13   2020?                                                            07:19

14           A.   Yes.                                                07:19

15           Q.   Okay.    Now, just go back down two pages to the    07:19

16   Bates ending in 927.                                             07:19

17           A.   Mm-hm.                                              07:19

18           Q.   And now do you see the                              07:19

19   bullet at the top?                                               07:19

20           A.   Yes.                                                07:19

21           Q.   And then do you see the sub-bullet "Working on      07:19

22   maybe_Chrome_incognito bit" in bold?                             07:19

23           A.   Yes.                                                07:19

24           Q.   So the maybe_Chrome_incognito bit was part of       07:19

25   the                           project?                           07:19

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1           A.   Yes.                                                 07:20

2           Q.   And at that point, in February 2020, was             07:20

3    anyone else besides you working on the                           07:20

4    maybe_Chrome_incognito bit?                                      07:20

5                MR. ANSORGE:    Objection.       Vague.              07:20

6                THE WITNESS:    I only know that I am the only       07:20

7    one who has been working on the maybe_Chrome_incognito           07:20

8    bit.                                                             07:20

9    BY MR. FRAWLEY:                                                  07:20

10          Q.   And what is      ?                                   07:20

11          A.                                                        07:20

12          Q.   Do you know why it's called               ?          07:20

13          A.   I'm not sure.                                        07:20

14          Q.   Do you know if it is referring to a                  07:21

15          ?                                                         07:21

16          A.   I don't know.                                        07:21

17          Q.   And in February 2020, while you were working         07:21

18   on the maybe_Chrome_incognito bit, who at Google was             07:21

19   aware of your work?                                              07:21

20               MR. ANSORGE:    Objection.       Vague, and          07:21

21   foundation.                                                      07:21

22               THE WITNESS:    Can you be more specific about       07:21

23   which work you're talking about?                                 07:21

24   BY MR. FRAWLEY:                                                  07:21

25          Q.   The work on the maybe_Chrome_incognito bit           07:21

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1    that is being referenced in this document.                          07:21

2                 And my question is:       Who else knew that you       07:21

3    were working on that?                                               07:21

4                 MR. ANSORGE:    Same objection.                        07:21

5                 THE WITNESS:    Do you mean who else in Google?        07:22

6                 MR. FRAWLEY:    Yes.                                   07:22

7                 THE WITNESS:    And -- there are a few people          07:22

8    who knew that I was working on this, but I don't                    07:22

9    remember exactly how many or who are they.                          07:22

10   BY MR. FRAWLEY:

11         Q.     Off the top of your head, can you think of             07:22

12   anybody?                                                            07:22

13         A.     Bert and Chris for sure.                               07:22

14         Q.     Okay.   I'm going to introduce another exhibit.        07:23

15                           (Plaintiffs' Exhibit 2 was                  07:23

16                           marked for identification.)                 07:23

17   BY MR. FRAWLEY:                                                     07:23

18         Q.     Okay.   I've introduced Exhibit 2.                     07:23

19                Please let me know when you have Exhibit 2 in          07:23

20   front of you.                                                       07:23

21                And I apologize but the stamp says "Exhibit 1"         07:23

22   again.     We'll fix that later.       Let's just call this         07:23

23   Exhibit 2.                                                          07:24

24                MR. ANSORGE:    So it's Exhibit 1, Tab D that          07:24

25   we're looking at now?                                               07:24

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1                MR. FRAWLEY:    This would be Tab 3.                 07:24

2                MR. ANSORGE:    Tab 3.     Okay.     Got it.         07:24

3                MR. FRAWLEY:    Yeah.     Sorry.                     07:24

4                MR. ANSORGE:    Got it.                              07:24

5                MR. FRAWLEY:    The stamp Is the most fun part       07:24

6    to me and I always mess it up.         Okay.     Sorry.          07:24

7                THE WITNESS:    Yes.     I'm looking at it.          07:24

8    BY MR. FRAWLEY:                                                  07:24

9          Q.    Okay.   So just so we're all on the same page,       07:24

10   and I apologize, you're looking at the document that's a         07:24

11   September 17th, 2020 e-mail from Bert Leung; correct?            07:24

12         A.    Yes.                                                 07:24

13         Q.    Okay.   Thank you.      And I apologize.             07:24

14               Can you look at the second page?                     07:24

15               MR. ANSORGE:    And, Ms. Liu, you're well within     07:24

16   your rights to familiarize yourself with the whole               07:24

17   document.                                                        07:24

18               THE WITNESS:    Okay.                                07:24

19               Yeah.   I'm looking at the second page.              07:25

20   BY MR. FRAWLEY:                                                  07:25

21         Q.    Okay.   Do you see the e-mail about a third of       07:25

22   the way down, there is a July 13, 2020 e-mail at                 07:25

23   8:44 a.m. from Chris Liao?                                       07:25

24         A.    Yes.                                                 07:25

25         Q.    And do you see where Chris Liao wrote "The           07:25

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1    is_incognito bit itself is already inferred"?                        07:25

2          A.     Mm-hm.                                                  07:25

3          Q.     So the "is_incognito bit," that's the same              07:25

4    thing as the maybe_Chrome_incognito bit that we were                 07:25

5    talking about from the prior document; correct?                      07:25

6          A.     I'm not sure if Chris meant that.                       07:25

7          Q.     If you know, were there any other bits about            07:25

8    incognito that he might have been referring to instead?              07:26

9                 MR. ANSORGE:     Objection.      Form and foundation.   07:26

10                THE WITNESS:     I don't know other bits for            07:26

11   incognito.                                                           07:26

12   BY MR. FRAWLEY:                                                      07:26

13         Q.     And then do you see just above where he wrote           07:26

14   "We should probably rename that to maybe_incognito and               07:26

15   link to the documentation"?                                          07:26

16         A.     Yes.                                                    07:26

17         Q.     So it sounds like from this -- and correct me           07:26

18   if I'm wrong -- the name started as maybe_incognito,                 07:26

19   then it changed to is_incognito, and now Chris Liao was              07:26

20   saying "let's change it back to maybe_incognito"?                    07:26

21                Is that right?                                          07:26

22                MR. ANSORGE:     Objection.      Form and foundation.   07:26

23                THE WITNESS:     What I can read from this e-mail       07:27

24   is that it changed from is_incognito to maybe_incognito.             07:27

25   ///

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1    BY MR. FRAWLEY:                                                    07:27

2          Q.    And before this, did it ever change from               07:27

3    maybe_incognito to is_incognito?                                   07:27

4                MR. ANSORGE:    Objection.       Foundation.           07:27

5                THE WITNESS:    Sorry.     The light is...             07:27

6                MR. FRAWLEY:    It's okay.                             07:27

7                THE WITNESS:    I don't know.        If it's a         07:27

8    maybe_incognito before.                                            07:27

9    BY MR. FRAWLEY:                                                    07:27

10         Q.    And right now does Chris Liao have any                 07:27

11   responsibility for the maybe_incognito bit?                        07:28

12               MR. ANSORGE:    Objection.       Foundation.           07:28

13               THE WITNESS:    I don't know if he has.                07:28

14   BY MR. FRAWLEY:                                                    07:28

15         Q.    When was the last time you talked to                   07:28

16   Chris Liao about the maybe_Chrome_incognito bit?                   07:28

17         A.    I don't remember.                                      07:28

18         Q.    Do you think it was more than six months ago           07:28

19   or less?                                                           07:28

20         A.    I don't remember.                                      07:28

21         Q.    And at this time, in July 2020, if you know,           07:29

22   were any lawyers involved in the maybe_incognito bit?              07:29

23               MR. ANSORGE:    Objection.       Vague and form.       07:29

24               THE WITNESS:    Well, first of all, I want to          07:29

25   clarify the maybe_incognito bit should -- you are                  07:29

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1    talking about should be the maybe_incognito Boolean              07:29

2    field.                                                           07:29

3                And about the lawyers, I don't know.                 07:29

4    BY MR. FRAWLEY:                                                  07:29

5          Q.    And thank you for that clarification.                07:29

6                Can you explain to me what is a Boolean field?       07:29

7          A.    A Boolean field is a type of data container          07:30

8    that only contains value that is either true or false.           07:30

9          Q.    Okay.   I'm going to introduce another exhibit.      07:30

10                          (Plaintiffs' Exhibit 3 was                07:30

11                          marked for identification.)               07:30

12   BY MR. FRAWLEY:                                                  07:31

13         Q.    Okay.   Today is not my day with marking             07:31

14   exhibits.    We'll call this Exhibit 3, even though              07:31

15   there's no stamp.                                                07:31

16               Let me know when you have this document in           07:31

17   front of you, Ms. Liu.                                           07:31

18         A.    Is it the Exhibit 3, Tab 1?                          07:31

19         Q.    That's correct.     I'm sorry that I'm making it     07:31

20   confusing with the different numbers.                            07:31

21         A.    That's okay.                                         07:31

22         Q.    My question here is about the fourth page of         07:31

23   this document.                                                   07:31

24               MR. ANSORGE:    Ms. Liu, you're well within your     07:31

25   rights to familiarize yourself with the document.                07:31

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1                 THE WITNESS:    Okay.     Thank you.                    07:31

2                 Would you please tell me the Bates number for           07:32

3    the page?                                                            07:32

4    BY MR. FRAWLEY:

5          Q.     Yes.                                                    07:32

6                 The Bates ending in 280.                                07:32

7          A.     Okay.   Yeah, I'm looking at this.                      07:32

8          Q.     Okay.   Do you see the bottom e-mail where you          07:32

9    wrote:                                                               07:32

10   "Hi all.     Ads identity team is currently working on               07:32

11   a project to detect third-party cookie-blocking                      07:32

12   browsers"?                                                           07:32

13         A.     Yes.                                                    07:32

14         Q.     And you are a member of the ads identity team;          07:32

15   correct?                                                             07:32

16         A.     Yes.                                                    07:32

17         Q.     And who else was a member of the ads identity           07:32

18   team at this point in October 2020?                                  07:32

19         A.     Bert and Chris.                                         07:32

20         Q.     So you were working with them on this project           07:32

21   to detect third-party cookie-blocking browsers?                      07:32

22                MR. ANSORGE:    Objection.       Form, and vague.       07:33

23                THE WITNESS:    I was working with Bert and             07:33

24   Chris on this third-party cookie-blocking browser                    07:33

25   project.                                                             07:33

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1    Chrome_incognito rate is three" -- "is around                      08:22

2    three percent"?                                                    08:22

3            A.      Yes.                                               08:22

4            Q.      And that's referring to the rate according to      08:22

5    your dashboard; correct?                                           08:22

6            A.      Yes.                                               08:22

7            Q.      So on January 27th, your dashboard said that       08:22

8    the incognito rate is around               or       percent.       08:22

9                    But now on February 3rd, the dashboard is          08:22

10   saying the incognito rate is around three percent; fair?           08:22

11           A.      Yes.                                               08:23

12                   MR. ANSORGE:    Objection.       Compound.         08:23

13   BY MR. FRAWLEY:                                                    08:23

14           Q.      And why was that good news?                        08:23

15           A.      Because it's closer to the number Bert told        08:23

16   me.                                                                08:23

17           Q.      What did Bert say about this good news?            08:23

18           A.      I don't remember exactly.                          08:23

19           Q.      And what, if anything, did you do -- well --       08:23

20   yeah.        Sorry.    Let me restart.                             08:24

21                   What, if anything, did you do between              08:24

22   January 27th and February 3rd?                                     08:24

23                   MR. ANSORGE:    Objection.       Vague.            08:24

24                   THE WITNESS:    Could you be more specific?        08:24

25   ///

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1    BY MR. FRAWLEY:                                                        08:24

2           Q.        Right.                                                08:24

3                     What, if anything, did you change that                08:24

4    resulted in the rate from your dashboard going from                    08:24

5    around           to       percent to then going down to around         08:24

6    three percent?                                                         08:24

7           A.        I didn't do anything.                                 08:24

8           Q.        So then how can you explain the rate going            08:25

9    from        to          percent to around three percent?               08:25

10          A.        It's because on January 27th, the change that         08:25

11   makes the incognito rate from                 or      percent to       08:25

12   three percent has -- hasn't rolled out yet.                            08:25

13          Q.        Did you say "the change"?                             08:25

14          A.        Yes.                                                  08:25

15          Q.        What do you mean -- what's the change?                08:25

16          A.                                                              08:25

17                                                                          08:26

18          Q.        When was that change rolled out?                      08:26

19          A.        I think it's between January 27th and                 08:26

20   February 3rd.                                                          08:26

21          Q.        Okay.     Let me introduce a new exhibit.             08:26

22                                 (Plaintiffs' Exhibit 8 was               08:26

23                                 marked for identification.)              08:26

24   BY MR. FRAWLEY:                                                        08:27

25          Q.        Okay.     I've introduced Exhibit 8.                  08:27

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1                Please let me know when you have Exhibit 8 in        08:27

2    front of you.                                                    08:27

3          A.    Yeah.    I'm looking at Exhibit 8.                   08:27

4          Q.    Okay.    Exhibit 8 is a list of logs; correct?       08:27

5          A.    Exhibit 8 is an email that has a list of logs.       08:27

6          Q.    And is this the list of logs that has the            08:27

7    maybe_Chrome_incognito field?                                    08:28

8          A.    Looks like, yes.                                     08:28

9          Q.    Now, if you know, when was the                       08:28

10   maybe_Chrome_incognito field added to these logs?                08:28

11               MR. ANSORGE:    Objection.       Compound.           08:28

12               THE WITNESS:    I'm not sure of the exact date.      08:28

13   BY MR. FRAWLEY:                                                  08:28

14         Q.    Was it the same date for every single log or         08:28

15   was it added to different logs at different times?               08:28

16         A.    It was added at one time.                            08:29

17         Q.    Sorry.    So for each log it was added at the        08:29

18   exact same time; right?      Is that what you mean?              08:29

19         A.    Yes.                                                 08:29

20         Q.    And you explained earlier that a Boolean field       08:29

21   means that it can only be true or false; correct?                08:29

22         A.    Yes.                                                 08:29

23         Q.    So right now, today, could you -- sorry.      Let    08:29

24   me restart.                                                      08:29

25               Right now, today, could someone at Google run        08:29

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1    a search for every single log entry where                            08:29

2    maybe_Chrome_incognito shows up as true?                             08:29

3                MR. ANSORGE:    Objection.       Foundation.   And       08:30

4    calls for speculation.      And form.                                08:30

5                THE WITNESS:    I think that only someone with           08:30

6    certain permission to the logs -- to access the logs                 08:30

7    may query the log to see this Chrome_incognito --                    08:30

8    maybe_Chrome_incognito Boolean field.                                08:30

9    BY MR. FRAWLEY:                                                      08:30

10         Q.    And that person could run a query for                    08:30

11   maybe_Chrome_incognito equals true?                                  08:30

12         A.    Yes.                                                     08:30

13         Q.    Now, can you just explain to me at a high                08:31

14   level the logic that goes into making the choice of                  08:31

15   whether something should be labeled true for                         08:31

16   maybe_Chrome_incognito?                                              08:31

17               MR. ANSORGE:    Objection.       Form and vague.         08:31

18               THE WITNESS:    The high level logic, you mean           08:31

19   like -- could you specify what's high level logic?                   08:31

20   BY MR. FRAWLEY:                                                      08:31

21         Q.    Sure.                                                    08:31

22               Like what kind of information is the field               08:31

23   using or looking at to decide whether it's going show up             08:31

24   as true?                                                             08:31

25         A.    I will be -- so the input for determining this           08:32

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1    Chrome_incognito Boolean field will include the absence                08:32

2    of X-Client-Data header and also whether the request is                08:32

3    from WebView and also if the request is from OS or                     08:32

4    macOS.                                                                 08:32

5            Q.   And the information that you just listed, is              08:32

6    all of that information stuff that's already part of the               08:33

7    same list of logs?                                                     08:33

8                 MR. ANSORGE:    Objection.       Vague.                   08:33

9                 THE WITNESS:    Do you mean are those input I             08:33

10   talk about, are they in the -- in this list of logs, or                08:33

11   do you mean --                                                         08:33

12                MR. FRAWLEY:    Yes.    That's exactly what I             08:33

13   mean.                                                                  08:33

14                THE WITNESS:    Okay.     So my input -- my input         08:33

15   for like determining the Chrome_incognito Boolean field                08:33

16   will not -- are not logged in this log.                                08:34

17                MR. FRAWLEY:    Okay.     Could we do like a              08:34

18   five-minute break, Ms. Liu?                                            08:34

19                THE WITNESS:    Okay.                                     08:34

20                MR. FRAWLEY:    Okay, Joey?                               08:34

21                MR. ANSORGE:    Yeah.     Fine by me.     Should we       08:34

22   reconvene at 20 to the hour?                                           08:34

23                MR. FRAWLEY:    Yes.                                      08:34

24                MR. ANSORGE:    Does that work?                           08:34

25                MR. FRAWLEY:    Perfect.                                  08:34

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